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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NATHSON E. FIELDS,                     )
    Plaintiff,                         )
                                       )      No. 10 CV 1168
    v.                                 )
                                       )      Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                )
     Defendants.                       )

         PLAINTIFF’S MOTION FOR MORE TIME TO COMPLETE TRIAL

      Plaintiff, NATHSON FIELDS, by and through his attorneys, respectfully

requests additional time to complete the trial in this case. Counsel has conducted an

extensive review of the time spent on this case (attached as Ex. A) and realizes that

they have spent an extensive amount of time on procedural issues and more time

than expected on witness examinations. Counsel have presented 23 witnesses in

their case in chief. Plaintiff believes that all of the witnesses were necessary but

agrees with this Court that some of that testimony could have been condensed

further. Plaintiff also spent more time than expected on the reading of trial

testimony from the criminal trials (both with witnesses and without witnesses) and

counsel believes that they underestimated the amount of time that would be

consumed on that task.

      Plaintiff has attempted to get a handle on the identity and number of defense

witnesses and has asked the cooperation of the City attorneys in that attempt.

Attorney Noland sent an email at 8:30 this evening listing the following defense

witnesses: Clay, Hawkins, Sexton, Dyson, Poulos, Davis transcript designations,
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Hogan, DeRobertis, Kelley. Counsel immediately sent an email inquiring as to whether

that was the total list of witnesses for the City but as of 10:00pm has received no

response.

       If the list provided by the City is the complete list of the City witnesses’ plaintiff

believes that they can conduct all cross examinations of those witnesses in fewer than

four hours. Plaintiff would like two hours for closing arguments and ten hours for

damages and final closing arguments. Counsel understand that this would entail an

additional Twelve hours of trial time for the Plaintiff and asks this Court for the

additional time so that Plaintiff can provide a complete cross examination of defense

witnesses and be able to fully explore damages before the Jury.

       WHEREFORE, based on the foregoing, Plaintiff Nathson Fields respectfully

requests that this Court enter an order granting his motion for more time for the reasons

set forth above.


                                           Respectfully submitted,

                                           /s H. Candace Gorman
                                           H. Candace Gorman
For Fields:

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                             CERTIFICATE OF SERVICE

       I, MELISSA A. MATUZAK, certify that the foregoing Plaintiff’s Motion For More
Time was served pursuant to the district court’s ECF system as to ECF filers, on April
22, 2014, and if any, were sent by first-class mail or by hand deliver to non-ECF filers.

                                                       s/ Melissa A. Matuzak



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